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EXHIBIT 10
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SS J.B.HUNT Ss |

J.B. HUNT TRANSPORT, INC.

CERTIFICATION OF NO RECORDS

I, Teresa Johnston-Love, hereby certify in writing that I am employed by J.B. Hunt
Transport, Inc. ("J.B. Hunt"). My official title is Paralegal, Casualty & Employment
Litigation. I am familiar with the below documents and records received, created, and
relied upon by J.B. Hunt in the ordinary course of its business, and that the below records
do not exist for:

EMPLOYMENT RECORDS: Alonzo Hawkins- Carrier for J.B Hunt Transport, Inc.
SSN: XXX-XX-2065
I AFFIRM, UNDER PENALTIES FOR PERJURY; THAT THE FOREGOING

INFORMATION IS TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE
AND BELIEF.

Date: ? | 52) 20S, so.

Printed:_ DoS, Wanstan-Le Me

Jeanette Guadalupe Hernandez
Benton
NOTARY PUBLIC — ARKANSAS
My Commission Expires March 085, 2031
Commission No. 12714204

P.O, Box 598 Lowell, AR 72745 (800) 723-9029
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RCP REMODELING SERVICES INC

13431 SW 280™ TER, HOMESTEAD, FL 33033
Tel: (305) 763-6010

May 8", 2025

RE: Subpoena Response

Nicholas Ford & Alonzo Hawkins v. Southern Road & Bridge LLC

To Whom It May Concern,

This letter will serve to provide a response to the subpoena received in connection with

the above-referenced case.

Please be advised that Mr. Nicholas Ford and Mr. Alonzo Hawkins have never been
employed by RCP Remodeling Services Inc, nor have they performed any services or

received any form of compensation from our company.

If you require any additional information or clarification, please feel free to contact me

directly.

Sincerely,

/

Rene Crespo
Owner
RCP Remodeling Services Inc.
